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EXHIBIT A-1__
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UMPRESIDENTIAL . — WAWW.OCWEN.COM

 

February 13, 2013

8:764-79784-0042840-009-04-001-000-000-000
KATHERINE L CAITO. |
16 YOSEMITE VALLEY RD
WESTERLY RI 02891-5622

-OCWEN LOAN #: -7140182929 ..

HOMEWARD LOAN #: 0031197908

PROPERTY ADDRESS: 16 YOSEMITE VALLEY RD
- ’ WESTERLY RI02891

NOTICE OF SERVICING TRANSFER (RESPA) and
WELCOME TO OCWEN LOAN SERVICING, LLC

Dear Borrower(s):

Hffective 03/01/2013, Homeward Residential, Inc. (Homeward Residential). will transfer the servicing of your account to
Ocwen Loan Servicing, LLC (Ocwen). The transfer of the servicing of your account does not affect any term or condition of
your financing agreement, other than terms directly related to the servicing of your account. Your loan number will change,
and the new loan number is noted above. : cs .

Should you have questions relating to the transfer of servicing or need information regarding your account prior to 03/01/2013,
please contact Homeward Residential's Customer Care Department at (877) 304-3100.

New Servicing Contact Information: S : .

As of 03/01/2013, Ocwen's Customer Care Center will assist you with questions regarding the transfer of servicing or any other
questions relating to your account. You may reach Ocwen's Customer Care Center at (800) 746-2936 Monday through Friday
8:00 am ET to 9:00 pm ET, Saturday 8:00 am ET to 5:00 pm ET or Sunday 9:00 am ET to 9:00 pm ET. Information conceming
Ocwen and your mortgage loan may also be found online at www.ocwen.com, You can also obtain information using Ocwen's
Automated Telephone System or by speaking with a Customer Care Center Representative. Please be sure to-have your loan
number available when you call. vo me ,

As of 03/01/2013,-all written inquiries should be sent to Ocwen at the following address. Please be sure to indicate your loan
number on all correspondence to ensure prompt response to your inquiry.

‘Ocwen Loan Servicing, LLC

Attn: Customer Service Department

P.O. Box 24738 =:

West Palm Beach, FL 33416-4738
Making Payments: o so
The date that Homeward will stop accepting payments is 2/28/2013, The date that Ocwen will start accepting payments
from you is 03/01/2013. Please make all checks payable to Ocwen and send all payments due on or after 03/01/2013 to
the following address. If you use a Bill Pay Service, you will also need to inform them of this new payment address.

For Western Union Quick Collect users, you can find the location nearest you by calling (800) 238-5772 or visiting

www,.westernunion.com and clicking “Find a Location": At the location, please pay to name “OCWEN" and provide the loan

number.
PAYMENTS . - OVERNIGHT EXPRESS ADDRES
Ocwen Loan Servicing, LLC : 0  : Ocwen Loan Servicing, LLC |
P.O, Box 6440 " pes : *. Attn: Cashiering .

Carol Stream, IL 60197-6440 : 1661 Worthington Road, Suite 100
; , West Palm Beach, FL 33409

If you are currently enrolled in Homeward Residential’s Automated Clearing House (ACH) or the Equity Accelerator Program

and your monthly payments are automatically withdrawn from your bank account, the service will continue with Ocwen. Please.

note, the first draft at Ocwen may be delayed. For your convenience, we have included a temporary payment coupon at the end
of this letter. : ° " 7 ;

Ocwen NMLS#: 1852 - .
Homeward Residential NMLS#: 3984

2400.0137
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Case 1:18-cv-00427-JJM-LDA Document 41-6 Filed OTIS on PGi eee
— . | HELPING HOMEOWNERS IS WHAT WE DO! ™

  

NOTICE OF SERVICING TRANSFER (RESPA). .
me Page2 ,
Taxes and Insurance: se a ,
If you are currently responsible ‘for payment of your real estate taxes and/or homeowners insurance, you will continue to be
responsible for payment of these items after your account transfers to Ocwen. To ensure our records accurately reflect your
insurance carrier and taxing authority, you may receive a letter of verification from Ocwen shortly after the transfer. -’

Additionally, it is important to contact your insurance agency to ensure that (i) Ocwen receives proof of hazard insurance (with
flood and/or windstorm coverage, as applicable) on your property and (it) Ocwen is named as the beneficiary in the Mortgagee
Clause of your policy. If your mortgage payment includes escrow for taxes or insurance, please take the necessary steps to have

 

 

all future bills forwarded to:
INSURANCE .. . PROPERTY TAXES >
Ocwen Loan Servicing, LLC Ocwen Loan Servicing, LLC
AOA 7° 2 Attn: Tax Department
- P.O. Box 6723 P.O. Box 24665
Springfield, OH 45501-6723 ' ‘West Palm Beach, FL 33416-4663
E-mail: updateinsurance@ocwen.com _ Customer Care Center: (800) 746-2936

Insurance Center: (866) 825.9265
Insurance Center Fax: (888) 882-1816

Year-end Interést Statement (RS Form 1098): to

By January 31 of each year, you will be mailed an Annual Tax and Interest Statement trom each company that has serviced your
loan during the prior year. Each statement will contain IRS reporting information for the time your loan was serviced by each
compamy. oo . : ,

Optional Insurance: . : fla, pe
f servicing rights may affect the terms of, or. the continued availability of, mortgage life, disability insurance, or

The transfer o
any other type of optional insurance, Not everyone has this type of insurance, but if you do, please be advised that it may not “~~

Customer Care Center at (800) 746-2936 during the business hours indicated above or contact an independent. insurance agent
for alternate coverage options. 7 .

Except in limited circumstances, the law requires that your present Servicer send you this notice at least fifteen (15) days
before the effective date of transfer. Your new Servicer must also send you this notice no later than fifteen (15) days after this
effective date. In this case; all necessary information.is combined in this one notice,

You are advised of the following information, which is set out in more detail in Section 6 of the Real Estate Settlement _
Procedures Act (RESPA) (12 USC 2605}: a

During the 60-day period following the éffective date of the transfer of the loan servicing; a loan payment received by your old
Servicer before its due date Tay not be treated by the new loan Servicer as late, and a late fee may not be imposed on you.
Section 6 of RESPA (12 USC 2605) gives your certain consumer rights. If you should need to send a “qualified written
request" to your loan Servicer concerning the servicing of your loan, your Servicer must provide you with a written
acknowledgement within five (5) business days of receipt of your request. A "qualified written request" is defined as a written
correspondence, other than notice in a payment coupon or other payment medium supplied by the Servicer, which includes your
name and loan number, and your reasons for the request. If you want to send ‘a "qualified written request" regarding the
servicing of your loan, it must be sent to-. Bg poe

If to Homeward Residential, Inc.: If to Ocwen:

Homeward Residential;Inc. . * - . « , Ocwen Loan Servicing, LLC
Attn: Research Department, ' ..., Attn: Research Department
P.O, Box 630467 me, P.O. Box 24736 oO
' Irving, TX 73063-0467 ne, West Palm Beach, FL 33416-4736

Not later than thirty (30) business days after receiving your request, your Servicer must make appropriate corrections to your
account and provide you with a written clarification Tegarding any dispute, or in some circumstances, a notice of a fifteen (15)
   

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I . HELPING HOMEOWNERS IS WHAT WE DO! ™.,

‘NOTICE OF SERVICING TRANSFER (RESPA)
; woe - Page2 = .
if you are currently responsible for payment of your real estate taxes and/or homeowners insurance, you will continue to be
responsible for payment of these items after your account transfers to Ocwen.. To ensure our records accurately reflect your
insurance carrier and taxing authority, you may receive a letter of verification from Ocwen shortly after the transfer.

Additionally, it is important to contact your insurance agency to ensure that (i) Ocwen receives proof of hazard insurance (with
flood and/or windstorm coverage, as applicable) on your property and (ii) Ocwen is named as the beneficiary in the Mortsagee
Clause of your policy. If your mortgage payment includes escrow for taxes or insurance, please take the necessary steps to have
all future bills forwarded to: - mo mS . Doe cs

_ INSURANCE _ So __ PROPERTY TAXES

Ocwen Loan Servicing, LLC. _. . Ocwen Loan Servicing, LLC
ISAQA: te . 9,” Atta: Tax Department — —
P.O. Box 6723 ST . PO. Box 24665
Springfield, OH, 45501-6723 _|.”. West Palm Beach, FL 33416-4665

' E-mail: updateinsurance@ocwen.com ° Customer Care Center: (800) 746-2936
Insurance Center; (866) 825-9265 - So

Insurance Center Fax: (888) 882-1816

Year-end Interest Statement (IRS Form 1098); . a | oo
By January 31 of each year, you will be mailed an Annual Tax and Interest Statement from each company that has serviced your
loan during the prior year.. Each statement will contain IRS reporting information for the time your loan was serviced by each

Optional Insurance: . cos a

The transfer of servicing rights may affect the terms of, or the continued availability of, mortgage life, disability insurance, or
any other type of optional insurance. Not everyone has this type of insurance, but if you do, please be advised that it may not
transfer to Ocwenl Loan Servicing, LLC. However, to verify if Ocwen is able to offer any of these services, please call our
Customer Care Center at (800) 746-2936 during the business hours indicated above or contact an independent insuratice agent
for alternate coverage options. Be uo ,

Except in limited circumstances, the law requires that your present Servicer send you this notice at least fifteen (15) days
before the effective date of transfer. Your new Servicer must also send you this notice no later than fifteen (15) days after this

effective date. In this case, all necessary information is combined in this one notice,

You are advised of the following information, which is set out in more detail in Section 6 of the Real Estate Settiement
Procedures Act (RESPA) (12 USC 2605) ns a |

During the 60-day period following the effective date of the transfer of the loan servicing, a loan payment received by your old .
Servicer before its due date may not be treated by the new loan Servicer as late, and a late fee may not be.imposed on you.

Section 6 of RESPA (12 USC 2605) gives your certain consumer rights. If you should need to send a “qualified written.
request” to. your loan Servicer concerning the servicing of your loan, your Servicer must provide you with a written
acknowledgement within five (5) business days of receipt of your request. A "qualified written request” is defined as a written
correspondence, other than notice in a payment coupon or other payment medium supplied by the Servicer, which includes your
name and loan number, and your reasons for the request: If you want to send a "qualified written request" regarding the
servicing of your loan, it must be sent to: - | a ,

Homeward Residential, Inc... °.. = Ocwen Servicing, LLC
Attn: Research Department . - ' ’, Attn Research Department. —

. P.O. Box 630467). 2 BO. Box 24736—
irving, TX 75063-0467 West Palm Beach, FL 33416-4736

Not later than thirty (30) business days after receiving your request, your Servicer must make appropriate corrections to your
account and provide you with a written clarification regarding any dispute, or in some circumstances, a notice of a fifteen (15)
business day extension. During this period, your Servicer may not provide information to a consumer reporting agency
conceming any overdue payment related to such period or qualified written request. However, this does not prevent the
Servicer from initiating foreclosure if proper grounds exist under the mortgage documents, A business day is a day on which
the offices of the business entity are open to the public for carrying on substantially ail of its business fictions.
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NOTICE OF SERVICING TRAN SFER (RESPA)
_ Page 3

Section 6 of RESPA also provides for damages and costs for individuals or classes of individuals in circumstances where
Servicers are shown to have violated ‘the requirements of that Section. You should seek legal advice if you believe your rights
have been violated. Please retain this information with your financing agreement documentation. We look forward to working
with you and providing you with the highest quality customer care service.

" IMPORTANT DISCLOSURES

Disclaimer Regarding Mandatory Arbitration Provisions: If your account documents require you to submit disputes regarding
your account to arbitration for resolution, such requirement is waived and will-not be enforced against you. Such waiver,
however, does not affect any rights you may have to require arbitration of disputes regarding your account.

Credit Reporting: You are hereby notified that we may réport information about your account to credit reporting agencies. Late
payments, missed payments, or other defaults on your, account may also be reflected on your credit report.

Properties in California: The state Rosenthal Fair Debt Collection Practices Act and the Federal Fair Debt Collection Practices
Act require that, except ‘under unusual circumstances, collectors may not contact you before 8 am or after 9-pm:~They may not
harass you by using threats of violence or arrestor by using obscene language. Collectors may not use false or misleading
statements or call you at work if they know or havé reason that you may not receive personals calls at work. For the most part,
collectors may not tell another person, other than your attorney or spouse, about your debt. Collectors may.not contact another
person to confirm your location or enforce a judgment. For more information about debt collection activities, you may contact
the Federal Trade Commission at (877) FIC-HELP or mae Tieano,

Properties in Colorado: For information about... the Colorado Fair Debt Collection Fractices Act, see
wiww.ago. state co.us/cab.htm. A consumer has the right to request in writing that a debt collector of collection agency cease
further communication with the consumer. A written request to cease communication will not prohibit the debt collector or
collection agency form taking any other action authorized by law to collect the debt.

Properties in Hawaii: Ocwen Loan ‘Servicing, LLC is licensed by the Commissioner of Financial Institutions in Hawaii.
Complaints about the servicer miay be. submitted to the Commissioner.

Properties in Maryland: The Maryland Consumer Protection Act require us to disclose that if Ocwen fails to give written notice
of this transfer or fails to make timely payments of taxes or insurance premiums (assuming the borrower has paid an amount to
cover these costs) and Ocwen has received the tax bill or notice, Ocwen may face liability for any economic damages incurred
by the borrower.

Properties in Minnesota: Borrowers on loans secured by property in Minnesote can direct complaints and questions to the
Ocwen Loan Servicing, LLC. Customer Care Department at-1-800-746-2936 between 8:00 a.m. and 9:00 p.m. ET, Monday
through Friday, from 8:00 a.m. to 5:00 p.m. ET. on Saturday, or from 9:00 a.m. to 9:00 p.m. ET on Sunday or in writing to: P.O.
Box 24738, West Palm Beach, FL 33416. 4738. Each written complaint or question will be responded to within 15 days.

Properties in New York: Ocwen Loan Servicing, LLC. is registered with the Superintendent of the New York State Banking
Department. The borrower may file complaints about Ocwen Loan Servicing, LLC with or obtain further information from the
New York State Banking Department by calling the Department’ Consumer Help Unit at 1-877- BANK-NY5 or by visiting the
Department's website at www.banking.statenyus.

Properties in North Carolina: Ocwen, Loan Servicing, LLC is licensed by the North Carolina Commissioner of Banks (North
Carolina Permit No. 3946 ) and complaints about Ocwen Loan Servicing, LLC may be submitted to the Commissioner.

Properties in Texas: The State of Texas requires us.to inform you. that a registrant shall provide to the borrower of each
resideritial mortgage loan. the following notice not later than the: 30th day after. the registrant commences servicing the loan: -
Complaints regarding the servicing-of your mortgage should be sent to’ the Department of Savings and Mortgage Lending, 2601 -
N. Lamar, Suite 201, Austin, Texas 78705. Complaint Forms and Instructions may be downloaded and printed from the
Departments website located at -htip./Avww.sml.state.t.us or obtained’ from the Department upon request by mail at the
address above, by telephone at its Toll-free Consumer Hotline at (e7™) 276-5550, by fax at (512) 475-1360, or by email at
SMLinfo @SML.STATE.TX.US.

Oecwen Loan Servicing, LLC is a debt collector attemptitg to coBect a debt: any information obtained will be used for that purpose.
However, if the debt is in active bankruptcy or ‘has been discharged through bankruptcy, this communication is not intended as and does
not constitute an attempt to <oilect a debi.

Prior Servicer is a debt collector attempting to collect a debt and any information obtained will be used for that purpose. If you are not
obligated on the debt or if the debt has been discharged in a bankruptcy proceeding, this is for informational purposes only and is not an
atternpt to assess.or collect the debt from you personally. :

Attention Service members and Dependents: The federal Service members Civil Relicf Act and certain state laws’ provide important
protections for you, including prohibiting foreclosure under most circumstances during and nine months after the service member's
military or other service. Prior Servicer will not foreclose on the property of a service member or his or her dependent deuring that time,
unless pursuant either to a court order 0 ora service member's written waiver agreement.
ewen Loan Servicing, LLC ;
.., HELPING HOMEOWNERS IS WHAT WE DO! ™
_  WWW.OCWEN.COM |

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Welcome to Ocwen!
Important Information

Welcome to Ocwen Loan Servicing, LLC (Ocwen). We have attached frequently asked questions, as it is natural
that you may have a few questions about this change and what it will mean. Please rest assured that we:value your
business and look forward to assisting you in the future as HELPING HOMEOWNERS IS WHAT WE DOI™

- Frequently Asked Questions: |

What if I made a payment to my Prior Servicer, but it has not posted yet? ,
Your Prior Servicer will forward-your payment fo us within 15 business days. It may take a few days for
us to receive and apply the payments, but this will not negatively impact your account or your credit

report. To check on the status of your account, you may goto www. ocwen.com, | _

How car I get information about my account? : co :
You can access Ocwen's website. and/or automated telephone system which will provide you with
information regarding your account 24-hours a day. These systems have. been designed to provide you

_ with the most -frequently requested services or information: They may include, but are not limited to,
options to obtain payment histories, a payoff or reinstatement. quote, status of your credit reporting,
payment options, status of tax and insurance payments, financial hardship options and frequently asked
questions (FAQ). Website: www.ocwen,com. Telephone Number: (800) 746-2936,

If my account is past due and I have not made a payment arrangement with Homeward Residential, how can
I make payment arrangements or get assistance due to financial difficulties? ,
We offer a number of Specialized programs designed to fit your unique financial situation. Please go to
www.ocwen.com, click on Mortgage Customers and then log in with your User ID and Password. If you
need io create a User ID and Password, select the New Customers icon. Once you log in, select the
Financial Difficulties icon, This will allow you to download an application package. .

Hf I cannot resolve my issue online, what number do [call and what are the hours?
Ocwen's toll free number is (800) 746-2936. In order to accommodate borrowers" busy schedules, we are
open late at night and very early in the morning. Our hours are Monday through Friday 8:00 am to 9:00
pm, Saturday 8:00 am to 5:00 pm, and Sunday 9:00 am to.9:00 pra, all Eastern Standard Time,

If my account is current, where do I send my payments?
Our payment processing address is:
Ocwen Loan Servicing, LLC :
P.O: Box 6440 -

Carol Stream, IL 60197-6440

I am currently on a trial medification plan. and still have payments remaining before i becomes a

final/permanent modification. What do I do? : oS
You should continue making monthly payments as required in the modification plan.- Your Prior Servicer .
will be providitig Ocwen thé status of your modification. Please allow us 30 days to review and process
your information. It is not necessary to call for a status prior to 30 days as the agent will not have any
additional information to provide to you. . ;

T am currently on a trial plan fer my mortgage modification, and I have made all of my trial payments.
When can Texpect my final/permanent modification? , .
Your Prior Servicer will be providing Ocwen with the status of your modification. You should continue to:
make your payment each month. Our goal is to review your loan as soon as possible and provide your
final modification agreement to you. “Please allow up.to 30 days from the date of the transfer for Ocwen to
obtain and process your application documentation. me
Case 1:18-cv-00427-JJM-LDA’ Document 41-6 Filed 07/1549: Bane,-halSpegelD #:
~.% HELPING HOMEOWNERS IS WHAT WE Do! ™

 

 

_ Welcome to Ocwen! |
Important Information

Welcome to Ocwen Loan Servicing, LLC (Ocwen). We have attached frequently asked questions, as it is natural
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business and look forward to assisting you int the future as HELPING HOMEOWNERS IS WHAT WE Do!™

Frequently Asked Questions: —

What if I made a payment to my Prior Servicer, but it has not posted yet? . . oe
Your Prior Servicer will forward your payment to us within 15 business days. It may take a few days for
us to receive and apply the payments, but this will not negatively impact your account or your credit

report. To check on the status of your account, you may go tO www.ocwen.com,

How can I get information about my account? oO 7 ,
You can’ access Ocwen's website and/or automated telephone system which will provide you with
‘imformation regarding your account 24-hours a day. These systems have been designed to provide you
-with the most frequently requested services or information. They may include, but are not limited to,
. options to obtain. payment histories, a payoff or reiustatement quote, status of your credit reporting,
- Payment options, status of tax and insurance payments, financial hardship options and frequently asked
questions (FAQ). Website: www.ocwen.com. Telephone Number: (800) 746-2936,

If my account is past due and.I have not made a payment arrangement with Homeward Residential, how can

I make payment arrangements or get assistance due to financial difficulties?,
We offer a number of specialized Programs designed to fit your unique financial situation. Please go to
Www.ocwen.com, click on Mortgage Customers and then log in with your User ID and Password. Hf you
need to create a User ID and Password, select the New Customers icon. Once you log in, select the
Financial Difficulties icon. This will allow you to download an application package.

if I cannot resolve my issue online, what number do J call and what are the hours?
Ocwen's toll free number is (800) 746-2936. In order to accommodate borrowers’ busy schedules, we are
open late at night and very early in the morning. .Our hours are Monday through Friday 8:00 am to 9:00 .
pm, Saturday 8:00 am to 5:00 pm, and Sunday 9:00 am to 9:60 pm, all Eastern Standard Time.

If my account is current, where do I send my payments?.
Our payment processing address is:
‘Ocwen Loan Servicing, LLC mod
P.O.Box6440 0°.
Carol Stream, IL 60197-6440

i am currently on a trial modification pian and stili have payments remaining before it becomes 2

final/permanent modification. What doldo? os ; ,
You should continue making monthly payments as required in the modification plan. Your Prior Servicer
will be providing Ocwen the Status of your modification. Please allow us 30 days to review and process
your information. It is not necessary to call for a status prior to 30 days as.the agent will not have any
additional information to provide to you. Pa a

I am currently on a trial plan for my mortgage modification, and-I have made all of my trial payments,
When can I expect my final/permanent modification? oo .
Your Prior Servicer will be providing Ocwen with the status of your modification. You shoud continue to
make your payment each month: Our goal is to review your loan as soon as possible and provide your
final modification agreement to you. Please allow up to 30 days from the date of the transfer for Ocwen to -
obtain and process your application documentation. .
Neer rc Ur

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Case 1:18-cv- 00427- JJM- LDA’ Document NG HOMEOWNERS B, RagelD #

WWW.OCWEN.COM

 

1 received 'a notice from my : Prior Servicer that I- -was denied for the Making Home Affordable Program. IL
am still having financial difficulty; what can I do?
We may still be able-to help you. ‘We offer a number of specialized programs designed to fit your

situation, Please go to www.oow en.com. for more _ information -and download an application for
assistance. : ;

‘Lreceived a notice from my Prior Servicer that they were missing documents for my y modification but I have
not sent them yet; do I send these documents to Ocwen now?
Yes, please send the documents to Ocwen via e-mail at. mod@oowen. com Or. fax the documents to (407)
7 37-617 4. Your Prior Servicer will be providing Ocwen with the status of your modification (trial plan or
initial application), copies of your ‘initial application and -information identifying the missing
documentation, Please allow up to 300 days: from the. date you send the documentation for Ocwen to
process your documentation.

I have a Short Sale or Deed-in-Liew application pending with my Prior Servicer, do.I have to resend all. the

documentation to Ocwen now and reapply?’
Your Prior Servicer will be. providing Ocwen with the status of your pending resolution: if-you have a -
pending foreclosure sale date or closing scheduled in the next-60 days, to expedite processing, please
resend the documentation by fax to (407). 737-5071. If you-do not have a foreclosure sale or scheduled
closing in-the next 60. days, your Prior Servicer will be providing Ocwen the status of your pending
resolution. Ocwen will be contacting you with a final approval. or denial. Please allow Ocwen up to 30
days to process your Short Sale.or Deed-in-Lieu application.

I received approval from my Prior Servicer for a Short Sale or Deed-in-Lieu; will this approval be honored
by Ocwen?
Yes, it will be honored as long as you meet thie original requirements or contingencies for approval
provided. by your Prior Servicer. With respect to Short Sales, please note that the original expiration date
of your Prior Servicer's approval (the “good through" date) still applies and if it has expired; the approval
is no longer valid. Your Prior Servicer will be providing these approval requirements toOcwen.

I received approval from my Prior Servicer for a Short Sale or Deed-in-Lieu, but the approval i is going to
expire shortly (or just expired) and my closing is after this day. What do I do?
You should fax your original approval documents and an updated net sheet or HUD1 with the new
projected-closing date to (407) 737-5071.. With respect to Short Sales, please note the original expiration
date of your Prior Servicer's approval (the "good through" date) still applies. Please note, if there is a
Foreclosure Sale scheduled « on your account, we will not postpone the foreclosure sale.

Please Detach below and include with your monthly payment.
00024233074 4444444881 000007140182929 50 023079114

. . oa _. KATHERINE L CAITO
L. - Payment Coupon | "Account Number: 7140182829
, : . . me, []. Check box if your contact information has changed,
update on the back

 

 

 

; AMOUNT DUE. $[7 |)

Note: If your loan is current, any . co
exeess funds will first be applied to - Additional Principal:  $

. outstanding amounts due and then. we = , : / : :
additional principal. . Additional Escrow:  $ po OCWEN ;
lf this payment is made via ‘ = . -
automatic drafting, this statement is Other: (Please Specify} $ fF . | PO BOX 6440 .

 

for informational purposes only. | —————— “|... CAROL STREAM IL 60197-6440

Total Enclosed: $
